     Case 5:14-cv-00509-CJS-MWP Document 119 Filed 11/29/18 Page 1 of 2




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Sheila K. Ben, Esq., as Court Appointed Guardian of the
Property of JANE DOE, (an infant proceeding under an
assumed name), an Infant under the Age of 14,
                                              Plaintiff,         CASE NO. 5:14-CV-0370 (CJS)
vs.                                                                 Action No. 1

THE UNITED STATES OF AMERICA,
                                             Defendants.




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

SUSAN DOE, (a Guardian and Executrix proceeding
Under an assumed name) as Executrix of the Estate of
Lori A. Bresnahan, Decedent,
                                             Plaintiff,          CASE NO. 5:14-CV-509 (CJS)
vs.                                                                 Action No. 2

THE UNITED STATES OF AMERICA,
                                            Defendants.



                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that Plaintiff, Susan Doe, as the Executrix of the Estate of

Lori A. Bresnahan, Decedent, by and through her attorneys, Michelle Rudderow of Williams &

Rudderow, PLLC, and Plaintiff Sheila Ben, as the Guardian of the Property of Jane Doe, by and

through her attorneys John C. Cherundolo & the Cherundolo Law Firm, respectfully move this

Court for an order: (i) approving Plaintiff’s Joint Motion for the settlement and dismissal of the

above-captioned matter against the Defendant, the United States of America pursuant to NY

EPTL §5-4.6(b) and NY CPLR §§1207 and 1208; and (ii) for such other and further relief as the

Court may deem just or proper. Plaintiff’s motion is supported by the accompanying Attorney

Declaration of Michelle Rudderow, together with attached exhibits, Declaration of Plaintiff,
     Case 5:14-cv-00509-CJS-MWP Document 119 Filed 11/29/18 Page 2 of 2



Susan Doe, Declaration of John C. Cherundolo, with exhibits, and Declaration of Sheila Ben,

Esq., and a Proposed Order.

       PLEASE TAKE NOTICE THAT the motion will be heard at the United States

Courthouse located at 100 State Street, Rochester, New York 14614 at a date and time to be set

by the Court.


       PLEASE TAKE FURTHER NOTICE THAT plaintiffs intend to serve and file reply

papers and, therefore, any papers in opposition to this motion are due upon the briefing schedule

to be issued by the Court.


Dated: November 26, 2018                            Respectfully submitted,


                                                    WILLIAMS & RUDDEROW, PLLC

                                             By:    /s/ Michelle Rudderow
                                                    Michelle Rudderow
                                                    (Bar Roll No. 514009)
                                                    250 Harrison Street, Suite 302
                                                    Syracuse, NY 13202
                                                    Telephone: (315) 472-7250
                                                    Facsimile: (315) 476-5350
                                                    Email: michelle@williamsrudderow.com
